                     UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                          EASTERN DIVISION

IN RE:                                )        BANKRUPTCY CASE NO.
                                      )
DIANE MARIE MIKULIN,                  )              15-83322-CRJ7
                                      )
         DEBTOR.                      )
                                      )
_____________________________________
J. THOMAS CORBETT,                    )
UNITED STATES BANKRUPTCY              )
ADMINISTRATOR FOR THE                 )
NORTHERN DISTRICT OF                  )
ALABAMA,                              )   ADVERSARY PROCEEDING NO.
                                      )
                  PLAINTIFF,          )             16-80025-JJR
                                      )
v.                                    )
                                      )
MARIELLEN MORRISON                    )
   a/k/a MARI MORRISON,               )
LAW SOLUTIONS CHICAGO, LLC,           )
   d/b/a UPRIGHT LAW, LLC and         )
   UPRIGHT LAW, and                   )
UPRIGHT LAW LLC,                      )
   d/b/a UPRIGHT LAW, LLC and         )
   UPRIGHT LAW                        )
                                      )
                                      )
                  DEFENDANTS.         )
______________________________________________________________________________

IN RE:                                )        BANKRUPTCY CASE NO.
                                      )
WILLIAM EARL COOK and                 )              15-41812-JJR7
ANGELA JONES COOK,                    )
                                      )
                  DEBTORS.            )
_____________________________________
J. THOMAS CORBETT,                    )
UNITED STATES BANKRUPTCY              )
ADMINISTRATOR FOR THE                 )
NORTHERN DISTRICT OF                  )
ALABAMA,                              )    ADVERSARY PROCEEDING NO.




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                                              )
                      PLAINTIFF,              )                    16-40016-JJR
                                              )
v.                                            )
                                              )
MARIELLEN MORRISON                            )
 a/k/a MARI MORRISON,                         )
LAW SOLUTIONS CHICAGO, LLC,                   )
  d/b/a UPRIGHT LAW, LLC and                  )
  UPRIGHT LAW, and                            )
UPRIGHT LAW LLC,                              )
  d/b/a UPRIGHT LAW, LLC and                  )
  UPRIGHT LAW                                 )
                                              )
                                              )
                      DEFENDANTS.             )


                          ORDER APPROVING COMPROMISE

       This matter came before the Court on October 27, 2016, on the following: Motion to

Approve Compromise between the Plaintiff and Defendants (16-40016, Doc. #57); Motion to

Approve Compromise between J. Thomas Corbett, Bankruptcy Administrator, and Mariellen

Morrison a/k/a Mari Morrison, Law Solutions Chicago LLC d/b/a Upright Law LLC and Upright

Law, and Upright Law LLC d/b/a Upright Law LLC and Upright Law (15-41812, Doc. #100);

Motion to Approve Compromise between the Plaintiff and Defendants (16-80025, Doc. #40),

and Motion to Approve Compromise between J. Thomas Corbett, Bankruptcy Administrator, and

Mariellen Morrison a/k/a Mari Morrison, Law Solutions Chicago LLC d/b/a Upright Law LLC

and Upright Law, and Upright Law LLC d/b/a Upright Law LLC and Upright Law (15-83322,

Doc. #59) (collectively referred to as “Compromise”). Appearing were Robert J. Landry, III,

Attorney for the Plaintiff, Valrey W. Early, III, Attorney for the Defendants, Rocco J. Leo,

Trustee, and William Dennis Schilling, Attorney for the Trustee.




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          Based upon the pleadings and representation of counsel and pursuant to 11 U.S.C. §

105(a) and Rule 9019 of the Federal Rules of Bankruptcy Procedure, the Compromise is

APPROVED.

          DATED: October 27, 2016

                                                           /s/ James J. Robinson________
                                                           JAMES J. ROBINSON
                                                           Chief United States Bankruptcy Judge


The Order Prepared by:                                            This Order Reviewed By:

Robert J. Landry, III                                             Valrey W. Early, III
Attorney for Plaintiff                                            Attorney for Defendants
Bankruptcy Administrator’s Office                                 601 Beacon Parkway West, Suite 201
1129 Noble Street, Room 117                                       Birmingham, Alabama 35209
Anniston, Alabama 36201                                           (205) 536-7798




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